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                                        ORDERED.


         Dated: August 24, 2017




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION



In re:                                                               Case No: 17-02469-3G7

NATASHIA T. SWINDLER

                                 Debtors. /

                     ORDER AUTHORIZING TRUSTEE TO EMPLOY
                   GORDON P. JONES AS ATTORNEY FOR THE ESTATE

          On the Application of the Trustee to Employ Gordon P. Jones as Attorney for the Estate,
it is ORDERED:
          1.     The Application is Granted.
          2.     The Trustee is authorized to employ Gordon P. Jones as attorney for this estate.
          3.     Compensation will be determined later in accordance with the provisions of 11
U.S.C. §330.




        Trustee, Gordon P. Jones, is directed to serve a copy of this order on interested parties
and file a proof of service within 3 days of entry of the order.
